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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


JILL BABCOCK, et al.,

                 Plaintiffs,
                                                                   Civil Action No. 22-CV-12951
vs.                                                                HON. MARK A. GOLDSMITH

MICHIGAN, STATE OF, et al.,

             Defendants.
_________________________________/

               ORDER REGARDING TELEPHONIC SCHEDULING CONFERENCE

        You are ordered to participate in a telephonic scheduling conference March 30, 2023 @ 4:30 p.m. in
the above-captioned matter.

         Plaintiff’s counsel shall initiate the call, and then include the Court by calling (313) 234-5240 when
all parties are on the line.

        Prior to the conference, please review the Court’s standard Case Management and Scheduling Order,
located on the Court’s website at www.mied.uscourts.gov, by clicking on Judicial Officers, District Judges,
Judge Mark A. Goldsmith, Form Orders, Case Management and Scheduling Order.

        Also prior to the scheduling conference, Plaintiff is required to initiate a conference with opposing
counsel for the purpose of preparing a joint discovery plan in accordance with Federal Rule of Civil Procedure
26(f). The joint discovery plan must be filed on the docket one week before the Court’s scheduling
conference. The joint discovery plan must address the following matters:

        •   a brief summary of the case
        •   the basis for subject matter jurisdiction
        •   the relationship of this case to other cases
        •   contemplated amendment(s) of pleadings to add or delete claims, defenses, or parties
        •   anticipated discovery disputes and discovery progress
        •   facilitation/arbitration/case evaluation
        •   anticipated motion practice
        •   settlement

        In addition, the plan must set forth proposed dates for all of the deadlines set forth in the Court’s
 standard Case Management and Scheduling Order, except for the following: motion cut-off dates, settlement
 conference date, due date for the final pretrial order, date for final pretrial conference, and trial date. In
 submitting proposed dates, counsel should bear in mind the Court’s standard case timeline:
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                          EVENT                                               DEADLINE
  Initial Disclosures under Fed. R. Civ. P. 26(a)(1)      Four weeks after issuance of the scheduling order
  Lay Witness List                                        Six weeks before close of discovery
  Exhibit List                                            Six weeks before close of discovery
  Expert Witness List and Disclosure under Fed. R. Civ. P. Six weeks before close of discovery
  26(a)(2) - Plaintiff

  Expert Witness List and Disclosure under Fed. R. Civ. P. Two weeks before close of discovery
  26(a)(2) - Defendant

  Discovery – Fact and Expert                             Four to nine months after issuance of the scheduling
                                                          order, depending on the complexity of the case
  Early Settlement Conference (before magistrate judge)   Between close of discovery and dispositive motions
  Dispositive Motions & Motions to Limit/Exclude Expert Fourteen days after close of all discovery
  Testimony

  All Other Motions, Including Motions in Limine          Six weeks before the final pretrial conference
  Settlement Conference (before district judge)           Four months after the dispositive motion cutoff date
  Joint Final Pretrial Order                              Six weeks before the final pretrial conference
  Final Pretrial Conference                               Two weeks after pretrial order due
  Trial                                                   Monday two weeks following the pretrial conference


         While the Court typically affords counsel wide latitude in fashioning deadlines for the first six events
listed in the chart above, the Court is not inclined to deviate significantly from its general case timeline in
setting deadlines for the remaining events, unless the circumstances of a particular case require it.

        After review of the submitted joint discovery plan, the Court will determine whether the above-
scheduled conference is needed. If the Court determines that a conference is not needed, the Court will issue
an order cancelling the above-scheduled conference and a scheduling order will be issued. If the Court
determines that a conference is needed, no scheduling order will be issued and the currently scheduled
conference will proceed. You should assume the conference will proceed unless you are notified otherwise.

          SO ORDERED.

Dated: March 15, 2023                                              s/Mark A. Goldsmith
       Detroit, Michigan                                           MARK A. GOLDSMITH
                                                                   United States District Judge
